 

 

 

Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 1 of 11

United States District Court
UNITED STATES DISTRICT COURT FOR THE a tict of Texas
SOUTHERN DISTRICT OF TEXAS
BROWNSVILLE DIVISION FEB 2 7 2013
David J. Bradiey, Clerk of Court

UNITED STATES OF AMERICA §

§

Vv. § CRIMINAL NO. B-12-512

§

ISRAEL AVILA §

PLEA AGREEMENT

COMES NOW the United States of America, by and through its attorneys,
KENNETH MAGIDSON, United States Attorney for the Southern District of Texas and
JODY L. YOUNG, Assistant United States Attorney, and the defendant, ISRAEL AVILA,
and the defendant's counsel, pursuant to Rule 11(e)(1)(B) of the Federal Rules of Criminal
Procedure, and state that they have entered into an agreement, the terms and conditions
of which are as follows:

1. The defendant, ISRAEL AVILA, agrees to plead guilty to Count Fifteen (15) of
the Indictment. Count Eight charges the defendant with possession with intent to distribute
a quantity exceeding one hundred (100) kilograms of marihuana, in violation of Title 21,
United States Code, §841(a)(1) and 841(b)(1)(B). The defendant, by entering this plea,
agrees that he/she is waiving any right to have the facts that the law makes essential to the
punishment either charged in the indictment, or proved to a jury or proven beyond a
reasonable doubt.

2. As part of this agreement, the United States agrees to recommend that the

Defendant be given full credit for acceptance of responsibility, be sentenced to the low end

 

 
 

 

 

 

 

Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 2 of 11

of the applicable Guideline level he scores, and a dismissal of remaining counts.
3. The penalty for a violation of Title 21, United States Code, Sections 841(a) and

841(b)(1)(B), includes a maximum term of 40 years, and a mandatory minimum term of five
(5) years imprisonment; a fine of up to $5,000,000; and a period of supervised release of
at least four (4) years. The defendant also acknowledges and understands that if the
defendant violates the conditions of any period of supervised release which may be
imposed as part of the sentence, then the Defendant may be imprisoned for the entire term
of supervised release without credit for time already served on the term of supervised
release prior to such violation. The defendant cannot be placed on probation or have the
imposition or execution of the sentence suspended. Further, the defendant is not eligible
for parole.

4. The defendant will pay to the United States District Clerk a special assessment
in the amount of one-hundred dollars ($100.00) per count of conviction, as required in Title
18, United States Code, Section 3013(a)(2)(A). The payment will be by certified check
payable to United States District Clerk, Brownsville, Texas 78520.

5. The defendant understands that under the Sentencing Guidelines, the Court is
permitted to order the defendant to pay a fine that is sufficient to reimburse the government
for the costs of any imprisonment or term of supervised release; if any is ordered.

6. The defendant agrees that any fine or restitution imposed by the Court will be
due and payable immediately, and defendant will not attempt to avoid or delay payment.

7. Defendant agrees to make complete financial disclosure by truthfully executing
a sworn financial statement (Form OBD-500) prior to sentencing if he/she is requested to
doso. Inthe event that the Court imposes a fine or orders the payment of restitution as

4

 

 
 

 

Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 3 of 11

part of the Defendant’s sentence, the Defendant shall make complete financial disclosure
by truthfully executing a sworn financial statement immediately following his/her
sentencing.

8. If the defendant is not a citizen of the United States, a plea of guilty may result
in deportation, exclusion from admission to the United States, or the denial of
naturalization.

9. The parties understand this agreement carries the potential for a motion for
departure under Section 5K1.1 of the Sentence Guidelines. The defendant understands
and agrees that whether such a motion is filed will be determined solely by the United
States through the United States Attorney for the Southern District of Texas. Should the
defendant's cooperation, in the sole judgment and discretion of the United States, amount
to “substantial assistance”, the United States reserves the sole right to file a motion for
departure pursuant to Section 5K1.1 of the Sentencing Guidelines and Policy Statement.
The defendant further agrees to persist in that plea through sentencing, fully cooperate
with the United States, not oppose the forfeiture of assets contemplated in this agreement.

10. The defendant understands and agrees that “fully cooperate” as used herein,
includes providing all information relating to any criminal activity known to defendant,
including but not limited to the specific facts of the present offense. The defendant
understands that such information includes both state and federal offenses arising
therefrom. In that regard:

(a) Defendant agrees that this plea agreement binds only the United States

Attorney for the Southern District of Texas and defendant; it does not bind

any other United States Attorney or any other unit of the Department of
Justice;

 
 

 

 

Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 4 of 11

(c)

(d)

(e)

11.

Defendant agrees to testify truthfully as a witness before a grand jury or in
any other judicial or administrative proceeding when called upon to do so by
the United States. Defendant further agrees to waive his/her Fifth
Amendment privilege against self-incrimination for the purpose of this
agreement:

Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request;

Defendant agrees to provide truthful, complete and accurate information and
testimony and understands any false statements made by the defendant to
the Grand Jury or at any court proceeding (criminal or civil), or to a
government agent or attorney can and will be prosecuted under the
appropriate perjury, false staternent or obstruction statutes;

Defendant agrees to provide to the United States all documents in his/her
possession or under his/her control relating to all areas of inquiry and
investigation.

Should the recommended departure, if any, not meet the defendant's

expectations, the defendant understands he remains bound by the terms of
this agreement and cannot, for that reason alone, withdraw his/her plea.

Defendant is aware that Title 18, United States Code, § 3742, affords a

defendant the right to appeal the conviction and sentence imposed. The defendant

knowingly and voluntarily waives the right to appeal the conviction and the sentence

imposed, or the manner in which the sentence was determined. Additionally, the

defendant is aware that Title 28, United States Code, § 2255, affords the right to contest

or “collaterally attack” a conviction or sentence after the conviction or sentence has

become final. The defendant knowingly and voluntarily waives the right to contest his/her

conviction or sentence by means of any post-conviction proceeding. If the defendant files

a notice of appeal following the imposition of sentence, the government will seek specific

performance of this provision.

 

 

 

 
 

 

 

Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 5 of 11

In exchange for the Agreement with the United States, Defendant waives all
defenses based on venue, speedy trial under the Constitution and Speedy Trial Act, and
the statute of limitations with respect to any prosecution that is not time barred on the date
that this Agreement is signed, in the event that (a) Defendant's conviction is later vacated
for any reason, (b) Defendant violates any provision of this Agreement, or (c) Defendant's
plea is later withdrawn.

12. In agreeing to these waivers, defendant is aware that a sentence has not yet
been determined by the Court. The defendant is also aware that any estimate of the
possible sentencing range under the sentencing guidelines that he/she may have received
from his/her counsel, the United States or the Probation Office, is a prediction, not a
promise, did not induce his/her guilty plea, and is not binding on the United States, the
Probation Office or the Court. The United States does not make any promise or
representation concerning what sentence the defendant will receive. Defendant further
understands and agrees that the United States Sentencing Guidelines are “effectively
advisory” to the Court. United States v. Booker, 125 S.Ct. 738 (2005). Accordingly,
Defendant understands that, although the Court must consult the Sentencing Guidelines
and must take them into account when sentencing Defendant, the Court is not bound to
follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline
range.

13. The Defendant understands and agrees that each and all waivers contained in
the Agreement are made in exchange for the concessions made by the United States in

paragraph 2 of this plea agreement.

 
 

 

Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 6 of 11

14. The United States reserves the right to carry out its responsibilities under
guidelines sentencing. Specifically, the United States reserves the right:
(a)  tobring its version of the facts of this case, including its evidence file and any
investigative files, to the attention of the Probation Office in connection with
that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing:

(c) to seek resolution of such factors or facts in conference with defendant's
counsel and the Probation Office; and,

(d) to file a pleading relating to these issues, in accordance with U.S.S.G.
Section 6A1.2 and Title 18, U.S.C.§ 3553(a).

15. Defendant is aware that the sentence will be imposed after consideration of
the United States Sentencing Guidelines and Policy Statements, which are only advisory,
as well as the provisions of Title 18, U.S.C. § 3553(a). Defendant nonetheless
acknowledges and agrees that the Court has authority to impose any sentence up to and
including the statutory maximum set for the offense(s) to which Defendant pleads guilty,
and that the sentence to be imposed is within the sole discretion of the sentencing judge
after the Court has consulted the applicable Sentencing Guidelines. Defendant
understands and agrees the parties’ positions regarding the application of the Sentencing
Guidelines do not bind the Court and that the sentence imposed is within the discretion of
the sentencing judge. If the Court should impose any sentence up to the maximum
established by statute, or should the Court order any or all of the sentences imposed to run
consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and will

remain bound to fulfill all of the obligations under this plea agreement.

 

 
 

 

Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 7 of 11

16. Defendant represents to the Court that he/she is satisfied that his/her
attorney has rendered effective assistance. Defendant understands that by entering into
this agreement, he/she surrenders certain rights as provided in this plea agreement.
Defendant understands that the rights of a defendant include the following:

(a) If defendant persisted in a plea of not guilty to the charges, defendant
would have the right to a speedy jury trial with the assistance of counsel.
The trial may be conducted by a judge sitting without a jury if the defendant,
the United States, and the court all agree.

(b)  Atatrial, the United States would be required to present witnesses and other
evidence against the defendant. Defendant would have the opportunity to
confront those witnesses and his/her attorney would be allowed to cross-
examine them. In turn, the defendant could, but would not be required to,
present witnesses and other evidence on his/her own behalf. If the
witnesses for defendant would not appear voluntarily, he/she could require
their attendance through the subpoena power of the court.

(c)  Atatrial, defendant could rely on a privilege against self-incrimination and
decline to testify, and no inference of guilt could be drawn from such refusal
to testify. However, if the defendant desired to do so, he/she could testify on
his/her own behalf.

17. If defendant should fail in any way to fulfill completely all of the obligations
under this plea agreement, the United States will be released from its obligations under
the plea agreement, and the defendant's plea and sentence will stand. If at any time
defendant retains, conceals or disposes of assets in violation of this plea agreement, or if
defendant knowingly withholds evidence or is otherwise not completely truthful with the
United States, then may move the Court to set aside the guilty plea and reinstate
prosecution. Any information and documents that have been disclosed by defendant,
whether prior to or subsequent to this plea agreement, and all leads derived therefrom, will
be used against defendant in any prosecution.

18. This written plea agreement, consisting of eleven pages, including the

 

 

 

 
 

Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 8 of 11

 

attached certifications of defendant and his/her attorney, constitutes the complete plea
agreement between the United States, defendant and his/her counsel. No promises or
representations have been made by the United States except as set forth in writing in this

plea agreement. Defendant acknowledges that no threats have been made against

 

him/her and that he/she is pleading guilty freely and voluntarily because he/she is guilty.

19. Any modification of this plea agreement must be in writing and signed by all

parties. ~ Qe

Defendant

 

APPROVED:

 
 

 

: KtotBey to Defendant

10

 

 

 
 

 

 

-—

 

Case 1:12-cr-00512 Document 273. Filed on 02/27/13 in TXSD Page 9 of 11

CERTIFICATION BY THE DEFENDANT

| have consulted with my counsel and fully understand all my rights with respect
to the charge(s) pending against me. Further, | have consulted with my attorney and
fully understand my rights with respect to the provisions of the Sentencing Guidelines
and Policy Statements which may apply in my case. | have read this plea agreement
and carefully reviewed every part of it with my attorney. | understand this agreement

and | voluntarily agree to it.

. We vo
endant Date

CERTIFICATION BY ATTORNEY

 

| have fully explained to the defendant, his rights with respect to the pending
indictment/information. Further, | have reviewed the provisions of the Sentencing
Guidelines and Policy Statements and | have fully explained to the defendant the
provisions of those Guidelines which may apply in this case. | have carefully reviewed
every part of this plea agreement with the defendant. To my knowledge, the

defefdant's decision to enter into this agreement is an informed and voluntary one.

a. 2-27-13

CounseHtor Defendant Date

“ll pt

 

Wwe

 

 

 

 
 

 

 

 

Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 10 of 11

United States District Court
PLEA PACKET MEMO uthern District of Taxes

FEB 2 7 2013

ASSIGNED AUSA: JODY L. YOUNG David J. Bradley, Lierk of Court

DEFENDANT: israel Avila
CASE# B-12-512 ~ q

RECOMMENDATION IN EXCHANGE FOR DEFENDANT'S PLEA TO COUNT FIFTEEN
OF THE INDICTMENT AND WAIVER OF CERTAIN APPELLATE RIGHTS : FULL
ACCEPTANCE OF RESPON ABILITY ECOMMENDATIONTH TT EFENDANT

 

GUIDELINES, AND A DISMISSAL OF THE REMAINING COUNTS AT THE TIME OF
SENTENCING.

FACT SUMMARY SHEET

During 2010-2011, Israel Avila would invest in marihuana shipments with Julio Cesar
Cardenas, Juan Torres, and other co-conspirators in the Julio Cesar Cardenas DTO. In
this capacity, Avila was an independent contractor who, at various times, would contract
with Julio Cesar Cardenas to ship marihuana through unknowing commercial freight
shipping companies. Other times, Avila would arrange for his own transportation of
marihuana. Some of the states that Avila assisted in the transportation of marihuana
include Indiana and Florida.

Juan Torres is a co-conspirator who has pled guilty in this case and has agreed to
cooperate. During the wire interception of Torres’ phone in April 2011, Torres was
intercepted talking with Avila about a 500 pound marihuana shipment. Torres
represented to an unindicted co-conspirator that “Riley was his main man.” Riley is the
nickname for Israel Avila. Avila was present during this intercepted conversation. Avila
is then heard during this conversation speaking with the unindicted co-conspirator.
During the court authorized wire interceptions of cell phones used by Julio Cesar
Cardenas, Avila also engaged in some general drug conversations with Cardenas in
April and June 2011.

Joel Villarreal, aka Cornflake, is also a defendant in a related case who has agreed to
cooperate with law enforcement. Villarreal has admitted to law enforcement of his
participation in shipping marihuana with Julio Cesar Cardenas, Juan Torres, Byron
Green, and Israel Avila. Villarreal has told law enforcement that an unindicted co-
conspirator’s house was utilized to store Avila’s marihuana as wel! as marihuana
belonging to Cardenas and Villarreal.

Villarreal identified Avila from a 6 person photo lineup in May 2012 and told agents that
Avila needed Julio Cesar Cardenas to transport Avila’s marihuana because Cardenas
had transportation links to warehouses in the area. Villarreal said that Cardenas would

I aa?

 

 
 

/ Case 1:12-cr-00512 Document 273 Filed on 02/27/13 in TXSD Page 11 of 11

charge Avila between $80-$150 a pound to transport marihuana. Villarreal said that
two of the warehouses utilized by Cardenas to ship marihuana for Avila were Crystal
Solutions and ELM Shipping. The wire intercepts and further investigation by law
enforcement has confirmed the existence of these warehouses and their use as
shipment points for marihuana. Villarreal also said that he, Juan Torres, and Avila
financed another warehouse on Coffeeport Road in Brownsville for the purpose of
shipping marihuana.

Villarreal told law enforcement that he and Avila shipped a load of 400 pounds of
marihuana to “Roque” in Florida. Villarreal told agents that Cardenas also sent
marihuana to Roque and had some shipments seized. The wire interceptions of
Cardenas’ cell phones in April and June identified a “Roque” in Florida who was
receiving marihuana from the Cardenas DTO on a regular basis and returning drug
proceeds to the Cardenas DTO.

 

Byron Green is another cooperating defendant. Green confirmed with law enforcement
that he ran the warehouse called Crystal Solutions. Green also told agents that he
would help arrange for the transportation of marihuana loads for Avila. Specifically,
Green confirmed a marihuana seizure of 212 kilos that was destined for Indiana on
December 1, 2010. This shipment was sent through Valley Overstock Unlimited
located on Coffeeport Road in Brownsville. Avila participated in this marihuana load.
This load constitutes the marihuana seized in Count 15.

Avila also assisted and invested in 350 pounds of marihuana shipped by Crystal
solutions that was seized in Tampa, Florida in September 2010. This seizure
comprises Count 12 of the indictment.

| agree the above factual summary accurately represents my involvement in the crime
to which i am pleading guilty and that the abbreviated proposed plea agreement
accurately describes my plea agreement with the government. A complete written plea
agreement may be attached.

israel Avila, Defendant

SeS= n

Assis, nited State ‘Attorfiey y
C Ue: t A
\'t NW
a

2 y

 

 

 
